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   11
   12                        UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
   13                             WESTERN DIVISION
   14
         MACOM TECHNOLOGY                          Case No. CV 16-02859 CAS (PLAx)
   15    SOLUTIONS HOLDINGS, INC., a
         Delaware corporation, and                 REPLY IN SUPPORT OF
   16    NITRONEX, LLC, a Delaware limited         MACOM’S MOTION FOR LEAVE
         liability company,                        TO AMEND COMPLAINT
   17
   18                      Plaintiffs,             REDACTED VERSION OF
                                                   DOCUMENT PROPOSED TO BE
   19          v.                                  FILED UNDER SEAL
   20    INFINEON TECHNOLOGIES AG, a               Hearing Date: June 11, 2018
         corporation organized under the laws of
   21    Germany, and INFINEON                     Hearing Time: 10:00 a.m.
         TECHNOLOGIES AMERICAS                     Courtroom: 8D
   22    CORP., a Delaware corporation,
   23                      Defendants.             Complaint Filed: April 26, 2016
   24                                              Fact Discovery Cutoff: June 29, 2018
                                                   Pre-Trial Conference: March 4, 2019
   25
                                                   Trial Date: March 26, 2019
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    1         For more than two years, Infineon hid the fact that it had breached its
    2   agreements with MACOM by
    3                             —the same patents that are the subject of this suit. This
    4                 fundamentally affects the claims asserted in this case and also has the
    5   potential to disrupt one of the key types of relief sought. Upon discovery of
    6   Infineon’s                            , MACOM promptly moved to amend the
    7   complaint.
    8         Now, faced with that motion, Infineon does not even pretend that it has
    9   legitimate basis for opposing the motion to amend. Infineon’s only argument is that
   10   MACOM supposedly failed to confer about its motion. But Infineon cannot drag
   11   its feet during the meet-and-confer process, never provide its substantive position to
   12   MACOM, and then use its own delay as an excuse to deny (or delay) MACOM’s
   13   motion, especially where it has not alleged any prejudice as a result of the meet-
   14   and-confer-process. This is particularly so here because, meanwhile, Infineon is
   15   using the fact that the amended complaint has not been formally filed to its
   16   advantage in the litigation. These tactics should not be tolerated, and MACOM’s
   17   motion to amend should be granted.
   18            I.      INFINEON HID INFORMATION, THEN REFUSED TO CONFER
   19         Infineon hid critical information that should have been shared with MACOM
   20   years ago and was also responsive to MACOM’s discovery requests served at the
   21   outset of fact discovery almost a year ago. Infineon then only produced the relevant
   22   information after the deadline for motions to amend the pleadings passed in
   23   February. See Mot. at 2-4 (Dkt. 505).
   24         On May 14, 2018, MACOM sent a detailed email to Infineon laying out the
   25   basis for its motion to amend. Ex. M at 3. This email is several paragraphs long
   26   and explains in detail that MACOM needed to amend its complaint to address new
   27   information revealed by Infineon after the deadline to amend pleadings, namely:
   28   (a) Infineon’s newly-revealed                                     ; (b) Infineon’s

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    1   announcement of the sale of its RF Power business and how that affects MACOM’s
    2   damages case and also unjustly enriched Infineon; and (c) Infineon Americas’
    3   recent announcement to MACOM that Infineon Americas would not enforce the
    4   Nitronex Patents against Infineon AG, despite its position that Infineon AG is not a
    5   party to the parties’ 2010 IP Purchase Agreement or License Agreement and thus
    6   has no rights to these patents. Id. All of the facts explained in this email were, of
    7   course, fully within Infineon’s control (and always have been). 1
    8          Infineon initially did not provide its position. Id. at 2. When the parties later
    9   conferred by phone, Infineon indicated only that it was not willing to agree to the
   10   amendments without a four-month extension of the case schedule, but would not
   11   provide any insight in to whether it otherwise opposed the motion. Tessar Decl.,
   12   ¶2. Infineon also demanded a copy of the draft Fourth Amended Complaint when
   13   MACOM contacted Infineon about its proposed motion, but, even after MACOM
   14   provided Infineon with a copy (something that MACOM was not required to do
   15   under any rule), Infineon still did not provide its position on whether it opposed
   16   MACOM’s motion other than based on the case schedule. Ex. M at 2; Dkt. 504.
   17          The Court did push the trial date back by several weeks (albeit not four
   18   months), and the parties have tentatively reached agreement that the fact discovery
   19   deadline will be pushed back by two months. See Dkt. 510. Nevertheless, even
   20   now, weeks after MACOM provided Infineon with a copy of its proposed Fourth
   21   Amended Complaint and conferred with Infineon telephonically, Infineon still has
   22   not told MACOM whether Infineon opposes MACOM’s motion other than for
   23   scheduling reasons. Infineon notably also did not provide its position to the Court
   24   in its response either, only vaguely stating that “Defendants disagree with
   25   Plaintiffs’ motion on the merits.” This does not clearly indicate whether Infineon
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   27       Infineon’s references to the timing of certain emails is misleading, given that
            Infineon’s counsel is not located in California and thus is citing times in a
   28       different time zone that is two hours ahead.

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    1   simply disagrees with MACOM’s arguments or is actually opposing the relief
    2   requested.
    3        II.     INFINEON IS USING ITS DELAY TACTICS TO GAIN AN ADVANTAGE
    4         Infineon’s delay tactics have been giving it an advantage in the litigation. As
    5   the resolution on MACOM’s motion to amend is pending, Infineon continues to
    6   resist discovery on topics MACOM seeks to add in its Fourth Amended Complaint
    7   on the grounds that they are not relevant. For example, Infineon initially refused to
    8   produce even the final agreement between Infineon and Cree for the sale of its RF
    9   Power business “because it seeks information unrelated to any claims or defenses of
   10   one or more of the parties.” See Ex. K. Infineon then used its refusal as leverage
   11   and only agreed to produce this document after extracting an agreement from
   12   MACOM that it would produce documents in response to one of its own RFPs. Ex.
   13   N. MACOM should not have to jump through hoops to obtain such basic
   14   discovery. Likewise, Infineon’s business partner (Cree) has refused to produce
   15   documents in response to a subpoena from MACOM based on the argument that
   16   there is no discussion in the current operative complaint about Infineon’s sale of its
   17   RF power business to Cree (which took place after the deadline to amend
   18   pleadings). Ex. O.
   19      III.    THE COURT SHOULD RESOLVE MACOM’S MOTION ON THE MERITS
   20         The Court should proceed with evaluating MACOM’s motion on the merits.
   21   Consistent with L.R. 7-3, MACOM contacted Infineon seven days before its motion
   22   was filed and provided a detailed description of the basis for its motion and the
   23   facts it intended to amend its complaint to include. Ex. M. This satisfies L.R. 7-3.
   24   Cilluffo v. C. Refrigerated Servs., Inc., EDCV 12-00886 VAP, 2012 WL 8539805,
   25   at *2 (C.D. Cal. Dec. 13, 2012) (“[T]he November 9, 2012 e-mail from Defendants
   26   to Plaintiffs was sufficient to meet Local Rule 7-3’s requirement to ‘contact
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    1   opposing counsel’ to discuss the contemplated motion thoroughly.”). 2
    2          There is also no requirement under the Local Rules or otherwise that
    3   MACOM provide a copy of its proposed amended complaint to Infineon at any
    4   point before the filing (let alone seven days in advance), although MACOM
    5   ultimately did provide it to Infineon. Chris Bickley v. CenturyLink, Inc., CV 15-
    6   1014-JGB-ASX, 2016 WL 9107423, at *2 (C.D. Cal. Apr. 1, 2016) (rejecting
    7   argument that motion to amend should be denied because a copy of the proposed
    8   amended complaint was not provided until four days before the motion was filed,
    9   stating “Local Rule 7–3 does not require the moving party to deliver a copy of the
   10   Motion or supporting documents to opposing counsel prior to filing. The Local
   11   Rules only require parties to ‘discuss thoroughly, preferably in person, the
   12   substance of the contemplated motion.’”).
   13          Infineon has cited no cases to support its assertion that MACOM’s meet-and-
   14   confer efforts were insufficient. Nor can it be the rule that Infineon can initially
   15   delay in conferring, drag out the meet-and-confer process (potentially indefinitely),
   16   and then use its own delay to defeat MACOM’s motion.
   17          Moreover, even if the Court finds that MACOM did not satisfy L.R. 7-3, that
   18   does not mean that MACOM’s motion must (or should) be denied. As described
   19   above, the timing of the conference had no effect on the necessity for the motion to
   20   be filed, as even now (weeks later) Infineon has not provided its position on
   21   whether it opposes the motion absent a schedule change, and the parties have not
   22   reached agreement. Moreover, Infineon has not identified any form of prejudice it
   23   suffered from the timing of the parties’ meet-and-confer efforts.3 Absent prejudice
   24   to the non-moving party, a failure to comply with the Local Rules does not require
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            MACOM did miscalculate and initially mistakenly set the hearing for June 11th.
   26       When it realized its mistake, it promptly filed a corrected notice of motion that
   27       adjusted the date to June 18th, in compliance with the rules. Dkt. 506.
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            Nor can it identify any such prejudice. It is MACOM that is being prejudiced in
   28       the manner that Infineon is conducting discovery in this case. See §II, supra.

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    1   denial of the motion. See CarMax Auto Superstores California LLC v. Hernandez,
    2   94 F. Supp. 3d 1078, 1088 (C.D. Cal. 2015) (“Failure to comply with the Local
    3   Rules does not automatically require the denial of a party’s motion, however,
    4   particularly where the non-moving party has suffered no apparent prejudice as a
    5   result of the failure to comply.”) (citing ECASH Techs., Inc. v. Guagliardo, 35
    6   Fed.Appx. 498, 500 (9th Cir. May 13, 2002) (unpublished)); Brodie v. Bd. of
    7   Trustees of California State U., CV 12-07690 DDP AGRX, 2013 WL 4536242, at
    8   *1 (C.D. Cal. Aug. 27, 2013) (“CSU does not argue that Plaintiff's violation of Rule
    9   7–3 caused it prejudice. Because CSU ‘suffered no real prejudice ... the court elects
   10   to consider the motion on the merits.’”).
   11         For these reasons, MACOM respectfully requests that the Court grant its
   12   motion for leave to amend.
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